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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                          )
UNITED STATES OF AMERICA                   )
                                           )
      v.                                  )
                                          )
CHRISTOPHER COLLINS,                      )  Case No. 18-cr-567 (VSB)
CAMERON COLLINS, and                      )
STEPHEN ZARSKY,                           )
                                          )
                        Defendants.       )
__________________________________________)

     UNOPPOSED MOTION OF THE U.S. HOUSE OF REPRESENTATIVES FOR
     LEAVE TO FILE AS AMICUS CURIAE IN SUPPORT OF NEITHER PARTY

       The United States House of Representatives (“House”) respectfully moves for leave to

file the attached amicus curiae brief. The United States of America does not oppose this motion.

The Defendants consent to this motion.

       A proposed order is attached, and oral argument on this motion is not requested. Should

the Court wish to hear argument from the House on any of the issues discussed in the attached

amicus curiae brief, counsel will make themselves available at the Court’s convenience.

                              INTEREST OF AMICUS CURIAE

       As explained in the attached brief, the House has a significant interest in how the

judiciary construes the Speech or Debate Clause. U.S. Const. art I, § 6, cl. 1. The Clause states

that “[f]or any Speech or Debate in either House, they [Senators and Representatives] shall not

be questioned in any other Place.” The Speech or Debate Clause is “an important protection of

the independence and integrity of the legislature” that “reinforce[es] the separation of powers so

deliberately established by the Founders.” United States v. Johnson, 383 U.S. 169, 178 (1966).
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For that reason, the House has sought and been granted leave to present its views on the Clause

as amicus curiae in numerous federal cases. 1

                                           STANDARD

       The customary role of an amicus is “to aid the court and offer insights not available from

the parties.” United States v. El-Gabrowny, 844 F. Supp. 955, 957 n.1 (S.D.N.Y. 1994).

Because the role of an amicus submission is to assist the court, “[d]istrict courts have broad

discretion to permit or deny the appearance of amici curiae in a given case.” United States v.

Ahmed, 788 F. Supp. 196, 198 n.1 (S.D.N.Y. 1992). “An amicus brief should normally be

allowed when … the amicus has unique information or perspective that can help the court

beyond the help that the lawyers for the parties are able to provide.” Auto. Club of N.Y., Inc. v.

Port Auth. of N.Y. & N.J., No. 11 Civ. 6746, 2011 WL 5865296, at *2 (S.D.N.Y. Nov. 22, 2011)

(quotation marks omitted). “The filing of an amicus brief should be permitted if it will assist the

judge ‘by presenting ideas, arguments, theories, insights, facts or data that are not to be found in

the parties’ briefs.’” Northern Mariana Islands v. United States, No. 08-1572, 2009 WL 596986,

at *1 (D.D.C. Mar. 6, 2009) (quoting Voices for Choices v. Ill. Bell Tel. Co., 339 F.3d 542, 545

(7th Cir. 2003)). Courts are most likely to “grant leave to appear as an amicus curiae in cases




1
  See, e.g., United States v. Schock, Nos. 17-3277 & 17-3393 (7th Cir. filed Nov. 1, 2017 & Nov.
21, 2017); In re Search of Elec. Commc’ns in the Account of chakafattah@gmail.com at Internet
Serv. Provider Google, Inc., 802 F.3d 516 (3d Cir. 2015); United States v. Renzi, 769 F.3d 731
(9th Cir. 2014); United States v. Verrusio, 762 F.3d 1 (D.C. Cir. 2014); United States v. Renzi,
651 F.3d 1012 (9th Cir. 2011); In re Grand Jury Subpoenas, 571 F.3d 1200 (D.C. Cir. 2009); In
re Search of the Rayburn House Bldg. Room No., 432 F. Supp. 2d 100 (D.D.C. 2006), rev’d sub
nom. United States v. Rayburn House Office Bldg., Room 2113, Wash., D.C. 20515, 497 F.3d
654 (D.C. Cir. 2007); Fields v. Office of Eddie Bernice Johnson, 459 F.3d 1 (D.C. Cir. 2006) (en
banc); Beverly Enters., Inc. v. Trump, 182 F.3d 183 (3d Cir. 1999); United States v. McDade, 28
F.3d 283 (3d Cir. 1994); United States v. Swindall, 971 F.2d 1531 (11th Cir. 1992); United States
v. Biaggi, 853 F.2d 89 (2d Cir. 1988); United States v. Renzi, 686 F. Supp. 2d 956 (D. Ariz.
2010).
                                                  2
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involving matters of public interest.” Andersen v. Leavitt, No. 3-cv-6115, 2007 WL 2343672, at

*7 (E.D.N.Y. Aug. 13, 2007).

                                           ARGUMENT

       The judiciary’s application of the Clause is a matter of substantial institutional concern to

the House and a matter of great public interest as well. The House has unique expertise and

experience in construing the Speech or Debate Clause. The House Office of General Counsel, in

particular, has day-to-day experience construing and applying the Clause. In filings before this

Court, the parties have raised significant issues related to the Clause. See Mem. in Supp. of

Christopher Collins’ Mot. to Compel (Feb. 8, 2019) (ECF No. 63); Gov’t’s Mem. of Law in

Opp’n to Defs.’ Pretrial Mots. (Mar. 8, 2019) (ECF No. 69); Reply Mem. of Law in Supp. of

Christopher Collins’ Mot. to Compel (Mar. 22, 2019) (ECF No. 72). The House now seeks leave

to file the attached brief to aid the Court by presenting its expert views on the Clause.

       The House proposes to submit an amicus curiae brief in support of neither party and

takes no position on the charges against the defendants or whether any particular documents or

materials are protected by the Clause. See Russell v. Bd. of Plumbing Exam’rs of the Cty. of

Westchester, 74 F. Supp. 2d 349, 351 (S.D.N.Y. 1999) (“Participation as amicus curiae … is

appropriate when the party cares only about the legal principles of the case, and has no personal,

legally protectable interest in the outcome of the litigation.”).

                                          CONCLUSION

       For these reasons, the House respectfully requests that the Court grant this motion for

leave to file the accompanying amicus curiae brief.




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                           Respectfully submitted,



                           /s/ Douglas N. Letter______________________
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                                  CERTIFICATE OF SERVICE

        I certify that on April 2, 2019, I electronically filed a copy of this motion, as well as the

attached proposed amicus curiae brief, using the CM/ECF System for the United States District

Court for the Southern District of New York, which will send notification of that filing to all

counsel of record in this litigation.




                                                               /s/ Douglas N. Letter_____________
                                                               Douglas N. Letter
